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        [Attorneys on next page]
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    8                            UNITED STATES DISTRICT COURT
    9                        CENTRAL DISTRICT OF CALIFORNIA
   10
   11 PERFECT 10, INC., a California           CASE NO. 2:11-CV-07098-ABC-SH
   12 corporation,                             DISCOVERY MATTER
   13               Plaintiff,                 Before Hon. Stephen J. Hillman
   14         vs.                              JOINT STIPULATION RE
                                               PROTECTIVE ORDER PURSUANT
   15 GIGANEWS,     INC., a Texas
      corporation; LIVEWIRE SERVICES,
                                               TO LOCAL RULE 37-1
   16 INC., a Nevada corporation; and DOES
      1 through 100, inclusive,                Date: December 16, 2013
   17              Defendants.                 Time: 2:00 P.M.
                                               Courtroom: 550
   18
      GIGANEWS, INC., a Texas                  Discovery Cut-off: June 30, 2014
   19 corporation; LIVEWIRE SERVICES,          Pretrial Conference: January 19, 2015
                                               Trial Date: January 27, 2015
   20 INC., a Nevada corporation; and DOES
      1 through 100, inclusive,
   21
                   Counter-claimants,
   22
            vs.
   23
      PERFECT 10, INC., a California
   24 corporation,
   25               Counter-defendant.
   26
   27
   28
         JOINT STIPULATION RE PROTECTIVE ORDER PURSUANT TO LOCAL RULE 37-1
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    1         I.    INTRODUCTION
    2         Pursuant to Fed. R. Civ. P. 36 and Local Rule 37-2.1, Plaintiff Perfect 10 Inc.
    3 (“Perfect 10”) and Defendants Giganews, Inc. “Giganews” and, Livewire Services,
    4 Inc. (“Livewire”) (collectively “Defendants”) submit the following Joint Stipulation
    5 requesting that this Court determine the appropriate protective order applicable to all
    6 discovery in this case, Perfect 10, Inc. v Giganews, Inc., CV-11-7098-ABC.
    7         II.   PERFECT 10’S POSITION
    8         Defendants are attempting to prevent Dr. Norman Zada, Perfect 10’s president,
    9 from accessing highly confidential/attorneys eyes only (“AEO”) materials, even
  10 though it is aware that this issue has been litigated three times before and in all
  11 instances, the Court found that Dr. Zada should have access to all materials1. See
  12 Perfect 10, Inc. v. Yandex, Inc., Case No. CV-12-1521 WHA (LB) (“Yandex”), July
  13 12, 2013 (Dkt. No. 193); Perfect 10, Inc. v. Google, Inc., Case No. CV 04-9484-AHM
  14 (SHx) (“Google”), December 27, 2005 (Dkt. No. 93); see also Perfect 10, Inc. v.
  15 Rapidshare AG, Case No. 09-CV-2596 H (WMC) (“Rapidshare”), May 17, 2010
  16 (Dkt. No. 66) (“Dr. Zada is a party who has unique significance to the prosecution of
  17 the case… Dr. Zada should have access to all material”). In Google, this Court found
  18 that there was no reasonable likelihood that Dr. Zada would flaunt the strict terms of a
  19 protective order. Defendants also know that Dr. Zada has never been accused of
  20 violating a protective order. Dr. Zada has been allowed to review all AEO materials
  21 in all cases for at least the last eight years.
  22          Perfect 10 is a tiny company with only two employees, Dr. Zada, a former
  23 Stanford, UCLA, and Columbia University professor and former IBM Computer
  24 Science Research Staff Member, and Melanie Poblete, Perfect 10’s in-house
  25 paralegal. Perfect 10’s business has been destroyed by copyright infringement.
  26
          1
  27     On October 21, 2013, Perfect 10 provided Defendants with the protective orders
     from the Yandex and Google cases. On October 30, 2013, Perfect10 provided
  28 Defendants with the protective order from Rapidshare.
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    1 Because of Perfect 10’s very limited resources (its business revenues are less than
    2 $70,000/year), Dr. Zada has been forced to do much of Perfect 10’s legal work,
    3 including producing and reviewing discovery and participating in the drafting of
    4 initial versions of briefs, discovery requests and responses, and deposition questions.
    5 Dr. Zada will also testify as an expert for Perfect 10 at trial and must be allowed to
    6 have access to highly confidential/AEO documents for that reason as well.
    7          Defendants have yet to identify any basis to exclude Dr. Zada from accessing
    8 AEO materials. Perfect 10 is not in the same business as Defendants (alleged
    9 infringing paysite operators) and is not a competitor to Defendants2.
  10           Perfect 10 finds Defendants’ attempts to smear Dr. Zada by bringing up a
  11 number of completely irrelevant issues, highly inappropriate. For example, the SEC
  12 matter Defendants improperly refer to came about as a result of an ad that Dr. Zada
  13 placed in the Wall Street Journal in 1993 listing his financial competition’s top
  14 contestants. Dr. Zada was never accused of fraud, or prevented from continuing to
  15 manage money. The primary allegation was that he did not know his clients well
  16 enough, before accepting them into his hedge fund, a standard that has since been
  17 abandoned by the SEC, as hedge funds are now allowed to operate websites which
  18 advertise their availability. The simple fact is that Defendants have failed to provide a
  19 single instance where Dr. Zada was ever accused of violating a protective order.
  20           Defendants also mistakenly claim that Ms. Lynell Davis and Ms. Natalie Locke
  21 are Perfect 10 employees.
  22           In order to decrease the burden upon this Court, Perfect 10 first contacted
  23
  24       2
            Additionally, while Defendants attempt to exclude Dr. Zada and Ms. Poblete
  25    from AEO and OAEO materials, Defendants have included language within their
        proposed protective order to increase the number of officers permitted to view
  26    “Confidential” materials from 1 allowed for in the Google protective order to 3,
  27    without providing any basis as to why 3 officers from each, Giganews, Inc. and
        Livewire Services, Inc. should be permitted to view materials provided by Perfect 10
  28    and designated “Confidential.”
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    1 Defendants on October 21, 2013 to negotiate the terms of a stipulated proposed
    2 protective order. Perfect 10 indicated that it would require the protective order to
    3 allow both Dr. Zada and its in-house paralegal, Ms. Poblete, to see all documents.
    4 Perfect 10 has since provided Defendants with the protective orders from the three
    5 aforementioned cases and a draft Stipulated [Proposed] Protective Order almost
    6 identical to the protective order this Court approved in Google, specifically asking
    7 Defendants to agree to this previously litigated point. Declaration of Lynell D. Davis
    8 (“Davis Decl.”), attached hereto as Exhibit A, ¶2. Defendants altered the Perfect 10
    9 proposed protective order to render it essentially a new document excluding Dr. Zada
  10 and Ms. Poblete from highly confidential/AEO materials; and excluding Dr. Zada,
  11 Ms. Poblete and counsel of record (in-house counsel) from viewing information
  12 Giganews identified as “Highly Confidential Source Code – OAEO” without
  13 providing any basis for their exclusion. Unfortunately, it appears that Defendants
  14 have decided that this is an issue best re-litigated before this Court3.
  15          A.    A separate provision regarding “source code” is unnecessary and
  16                fails to allow even an attorney of record to review what Giganews
  17                believes are documents responsive to P10’s Requests for Production.
  18          Defendants’ additional “OAEO” language regarding “source code” attempts to
  19 prevent not only Dr. Zada, but even counsel of record (in-house counsel) and in-house
  20 counsel’s sole support staff, Ms. Poblete, from reviewing such material. As
  21 Defendants know, in-house counsel for Perfect 10 is co-counsel of record in this
  22 matter and would not be able to draft pleadings and/or other required documents for
  23 this case without the ability to view all documents produced in response to Perfect
  24
          3
  25      In response to many of Perfect 10’s Interrogatories and Requests for Production
     Defendants have noted that they will provide documents following the entry of a
  26 “document production management and control order and appropriate protective
  27 order,” given the fact that the deadline to add claims or parties is December 9, 2013,
     Defendants’ insistence on re-litigating the issue of Dr. Zada and Ms. Poblete viewing
  28 all materials will severely limit Perfect 10’s ability to timely add parties.
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    1 10’s discovery requests. Additionally, as noted above and previously ruled upon, Dr.
    2 Zada is uniquely qualified to review the type of material contemplated within
    3 Defendants’ separately designated section intended to govern the control of “source
    4 code” Defendants may produce. For the same reasons noted above regarding “Highly
    5 Confidential/AEO” materials, Dr. Zada should be permitted to review all “source
    6 code.”
    7        Additionally, Perfect 10 believes that the language in the Defendants’ proposed
    8 protective order regarding source code including but not limited to the language “other
    9 software or programs” is sufficiently vague so as to potentially affect the designation
  10 of a large category documents and responses and result in multiple discovery disputes.
  11 At this time, Perfect 10 is not aware of any Requests that properly call for the
  12 production of such materials, nor would Perfect 10 have the time to analyze “source
  13 code” written by others. Perfect 10 is concerned that this paragraph has been included
  14 in an effort to prevent Dr. Zada from viewing certain materials that are not, in fact,
  15 “source code.”
  16         B.     Defendants’ Suggested “Procedures for Disclosure of Customer
  17                Information” are time consuming and will require this Court to rule
  18                on numerous customer objections.
  19         Defendants’ proposed language regarding “Procedures for Disclosure of
  20 Customer Information” reflects Defendants’ continued attempts to withhold
  21 documents and/or compliant responses to Perfect 10’s discovery requests. The
  22 “customers” at issue are in fact massive infringers who Perfect 10 has alleged are
  23 either Defendants’ employees or third-parties that Defendants have paid to upload
  24 billions of dollars of infringing material, including at least 50,000 Perfect 10
  25 copyrighted images, either to the servers of giganews.com or to the Usenet.
  26 Obviously, all such parties will “object” to their identities being revealed.
  27         Thus, Defendants’ proposed language would not only result in an indeterminate
  28 delay in the discovery of the identity of co-conspirators and other critical information,
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    1 it would lead to at least twenty or thirty motions before this Court. It should also be
    2 noted that as part of the repeat infringer/counter notification process as described in
    3 Section 512(g)(3)(D) of the DMCA, Defendants should have already provided Perfect
    4 10 with the names of most of the alleged infringers as part of the counter-notification
    5 process. However, Defendants have yet to provide Perfect 10 with a single counter-
    6 notification, and thus never identified any alleged infringer, even though Perfect 10
    7 has provided Defendants with at least 1191 Message-IDs in its notices (what
    8 Defendants consider to be a compliant notice).
    9        Furthermore, Defendants contend that they will disclose the identity of alleged
  10 infringers upon receiving a court order. Davis Decl. ¶3.
  11         Perfect 10 simply proposes that such “customer” information be designated
  12 “Confidential” or “Highly Confidential” resulting in any such information being
  13 limited to use in this litigation and only by those individuals identified within Perfect
  14 10’s [Proposed] Protective Order.
  15         C.     Perfect 10’s [Proposed] Protective Order follows precedent.
  16         Perfect 10, in the interest of easing the burden on this Court, provided
  17 Defendants with the protective orders imposed in Yandex, Rapidshare and Google as
  18 well as a draft protective order that was virtually identical to the Google order ruled
  19 on by this Court, in the hope of agreeing on a stipulated proposed protective order.
  20 Defendants have elected to re-litigate the issue of Dr. Zada’s review of all materials
  21 disclosed in response to Perfect 10’s discovery requests and to add the unnecessary
  22 language noted above.
  23         Perfect 10’s [Proposed] Protective Order does not differ from the Google
  24 protective order in any substantive respect, in fact, the primary difference reflects
  25 Perfect 10’s inclusion of some language suggested by Defendants, see for example
  26 paragraph 2 of Perfect 10’s [Proposed] Protective Order. Davis Decl. ¶2.
  27         As such, Perfect 10 asks this Court to rule that Perfect 10’s [Proposed]
  28 Protective Order in its entirety shall govern all discovery in this case, Perfect 10, Inc.
                                                    5                       2:11-CV-07098-ABC-SH
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    1 v Giganews, Inc., CV-11-7098-ABC.
    2 III.   DEFENDANTS’ POSITION
    3     Defendants have grave concerns, as to both substance and form, about Perfect 10’s
    4 proposed protective order. That proposal has poor organization and is hard to follow,
    5 which makes it dangerous to use. Apart from that, the parties have three principal
    6 disagreements regarding content. Defendants’ proposal is Exhibit B to this
    7 Stipulation. For the Court’s convenience, Defendants have highlighted the
    8 substantive portions they believe that the parties disagree on. Perfect 10 refused to
    9 comment on the remaining portions during the pre-motion process.
  10         A.     Section 7: Non-Attorneys Should Not Have Access to Attorneys’
  11                Eyes Only Materials.
  12         Perfect 10’s CEO Norman Zada seeks special non-attorney access to Attorneys’
  13 Eyes Only material. This is not Norman Zada’s case. The plaintiff is Perfect 10, Inc.,
  14 a corporation. While Mr. Zada appears to takes his company’s litigation personally,
  15 he is not a party.
  16         When convenient, Mr. Zada urges courts to give him extraordinary privileges as
  17 though he were a plaintiff in propria persona. He does not deserve any special
  18 treatment.
  19         Mr. Zada argues that he is unique among company officers in deserving access
  20 to confidential information of a litigation adversary. Mr. Zada may indeed be unusual
  21 or perhaps unique – but in ways that counsel precisely against allowing him special
  22 access to a company’s confidential information that normally only lawyers would gain
  23 access to. Lawyers have special obligations as officers of the Court, subject to
  24 professional ethics rules, that give them extraordinary responsibility with confidential
  25 materials they access during litigation. Mr. Zada has no such special responsibility.
  26         Mr. Zada has proved himself to be an intemperate copyright crusader. In
  27 virtually all of Perfect 10’s cases, he blurs the line between his company’s case and
  28 his personal crusade. In this case, for example, he has tried to bring unrelated parties
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    1 and facts into the litigation, referring to other defendants Perfect 10 has sued (such as
    2 Megaupload) and to other copyright holders such as Microsoft, whose interests he
    3 does not represent. Amended Complaint ¶ 52.
    4        At a dinner of the Los Angeles Copyright Society in 2007, Mr. Zada was so
    5 agitated during a debate between Perfect 10’s litigator and a litigator for Google that
    6 Mr. Zada interrupted the debate to take a microphone and insist on haranguing the
    7 Google lawyer himself. Declaration of Andrew P. Bridges at ¶ 2. During that event,
    8 Perfect 10’s lawyer openly solicited other lawyers at the event to bring additional
    9 copyright cases against Google. Id.
  10         Mr. Zada has already, in this case, demonstrated that he wants to use
  11 information from this case in other contexts. During the pre-motion conference with a
  12 Giganews attorney, Mr. Zada on behalf of Perfect 10 demanded materials unrelated to
  13 Perfect 10 by explaining that they “would be very interesting reading” and that he
  14 would use them to establish the existence of “criminal liability and conspiracy” to
  15 infringe other parties’ copyrighted works. Rubel Decl. ¶ 3.
  16         Furthermore, Defendants learned that Mr. Zada recently held himself out as a
  17 witness for another copyright plaintiff in a case to which Perfect 10 was not a party.
  18 In Rosen v. iWeb, Mr. Zada submitted a declaration to help copyright plaintiff Barry
  19 Rosen oppose a motion to dismiss his claim. See Rubel Decl., ¶ 4, Exhibit 1 (Dkt. No.
  20 43-5, 2:13-cv-01742-SJO (C.D. Cal. filed Oct. 11, 2013)). Mr. Zada’s testimony there
  21 concerned a defendant Perfect 10 was also suing in Perfect 10 v iWeb Technologies,
  22 case no. 3:313-cv-00328 (S.D. Cal.). In the Rosen case, Mr. Zada testified as to
  23 “evidence” he had concerning the defendant and his communications with the
  24 defendant, and he appeared to be proffering opinions typically offered by experts.
  25 Rubel Decl. Exhibit 1 at 1, 5-10.
  26         Mr. Zada’s activities demonstrate that he not only regularly communicates with
  27 other copyright litigants regarding the subject of their respective litigations but also is
  28 likely to campaign for others to bring cases, and to advise and testify in others’ cases.
                                                     7                       2:11-CV-07098-ABC-SH
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    1 This highly unorthodox activity substantially raises the risk that Mr. Zada will
    2 improperly use (whether inadvertently or not) highly confidential material from one
    3 litigation in an unrelated litigation.
    4          Perfect 10’s pursuit of discovery unrelated to the claims in this case combined
    5 with Mr. Zada’s demonstrated history of fostering other plaintiffs’ lawsuits
    6 demonstrates the danger that Mr. Zada will use discovery in this civil case to gin up
    7 civil and criminal litigation against Giganews by other unrelated parties.
    8          In addition, Mr. Zada has a track record that includes a censure by the SEC for
    9 his misuse of information in connection with his hedge fund marketing activities and
   10 his failure to keep appropriate books and records. A copy of the censure order is at
   11 http://www.sec.gov/litigation/admin/337560.txt. Moreover, Perfect 10 has a history
   12 of maintaining and producing documents in an unorthodox fashion; for example, it
   13 frequently resists producing documents in a well-labeled and organized manner in
   14 litigation. There is little reason to believe that Perfect 10’s principal Mr. Zada would
   15 adopt appropriate precautions. This is yet another reason not to trust Mr. Zada with
   16 the proper use and maintenance of confidential documents of a Perfect 10 adversary.
   17          For all these reasons there is every reason to deny Mr. Zada a special privilege
   18 of non-attorney access to attorneys’ eyes only materials.
   19          Nor would treating Mr. Zada like any other CEO unfairly prejudice Perfect 10. 4
   20 Perfect 10 misleads the court with the description of its legal activities and finances to
   21 suggest that, because of Perfect 10’s claimed financial straits, the Court should relax
   22 “attorneys’ eyes only” rules so that Perfect 10 could save money.
   23          Perfect 10 has four counsel of record in this case. In the last decade it has relied
   24 upon a number of attorneys to represent it in approximately 30 district court actions
   25
   26   4
       Perfect 10 argues that litigating the issue of Mr. Zada’s access places it in jeopardy
   27 of missing the December 9, 2013 deadline to add claims or parties. Because
      Defendants have already offered to stipulate to extend this deadline to January 2014,
   28 and Perfect 10 has agreed, this concern is baseless.
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    1 (including suits against Visa, MasterCard, Microsoft, Google, and Amazon.com) as
    2 well as at least eight appeals and at least three petitions for certiorari to the United
    3 States Supreme Court. Perfect 10 has retained many of the biggest names in the
    4 country to represent it in litigation. Among the law firms it has retained over the years
    5 have been Arnold & Porter, Mitchell Silberberg & Knupp, and Jenner & Block. It
    6 even appointed the current Solicitor General of the United States, Donald B. Verrilli,
    7 as its lead counsel (among four lawyers) to file an unsuccessful petition for certiorari
    8 before the U.S. Supreme Court in Perfect 10, Inc., v. Visa International Service
    9 Ass’n.5 Mr. Zada also appears (under his former name Norman Zadeh) to have
   10 litigated one case personally before this Court (Judge Collins), Zadeh v. Goodstein,
   11 case no. CV 98-01348-ABC, which he appealed to the Ninth Circuit. Among Mr.
   12 Zada’s counsel in that case before the Ninth Circuit was John Quinn of the Quinn
   13 Emanuel firm.
   14          Perfect 10 also falsely states that it has only two employees. According to their
   15 notices of appearance in this case (Dkt. 100 and 126), two Perfect 10’s counsel of
   16 record identified themselves as “Natalie Locke of Perfect 10, Inc.” and “Lynell D.
   17 Davis of Perfect 10, Inc.” (emphasis added), and gave Perfect 10’s corporate address
   18 (also Mr. Zada’s home address) as their business addresses as counsel of record.
   19          Moreover, Perfect 10 falsely claims in this motion to have “business revenues”
   20 of “less than $70,000/year.” It is no pauper, and it spends millions of dollars on
   21 litigation. Perfect 10’s business is litigation. It has admitted that “it has had
   22 settlements in excess of $16 million but that does not include the litigation costs,
   23 which were close to the litigation revenues.” Answer to Counterclaim (Dkt. 134)
   24 ¶ 317. There is no reason to credit Perfect 10’s suggestion that for financial reasons it
   25 deserves a unique exemption from all the standard protective order attorneys’ eyes
   26 only limitations.
   27
        5
       See cert. pet. No. 07-1026 (denied June 2, 2008), available at
   28 http://www.supremecourt.gov/Search.aspx?FileName=/docketfiles/07-1026.htm
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    1         B.     Section 8: Perfect 10’s Non-Attorney CEO and In-House Legal Team
    2                Should Not Have Access to Outside Attorneys’ Eyes Only Source
    3                Code.
    4         The parties disagreed as to whether Mr. Zada could view Highly Confidential
    5 Source Code – Outside Attorneys’ Eyes Only materials. In this joint stipulation,
    6 Perfect 10 also proposed special privileges for Lynell Davis and Natalie Locke, in-
    7 house counsel for Perfect 10, to have in-house access to outside-attorney-only
    8 materials. Perfect 10 already has two outside counsel of record, and it does not
    9 deserve a special exemption from outside-attorney-only restrictions.
   10         The same risks defendants described above apply to the even more sensitive
   11 information in this category. The Highly Confidential Source Code – OAEO
   12 designation would only apply to “source code, including machine code, website
   13 scripts, algorithms, and other software or programs of a highly confidential and/or
   14 proprietary nature.” Defendants seek to protect their proprietary code and trade
   15 secrets from employees of a company that has claimed to be Defendants’ competitor.
   16 See Complaint at ¶ 65 (“This conduct enables Defendants to compete directly and
   17 unfairly with Perfect 10 . . . .”).
   18         Although Perfect 10 argues that its discovery requests thus far do not call for
   19 any code, a piecemeal protective order that puts off this issue only wastes resources
   20 and delays resolution. Given the technical nature of Defendants’ systems, it is
   21 reasonable to include such a provision now. Furthermore, there is nothing unusual
   22 about limiting source code review, in cases that require it, to outside experts and
   23 counsel. See, e.g., Eastern District of Texas model Protective Order for patent cases,
   24 available at http://www.txed.uscourts.gov/cgi-
   25 bin/view_document.cgi?document=22242.
   26         C.     Section 11: Giganews Must Provide Customers Notice Before
   27                Disclosure.
   28         The parties disagree as to inclusion of this section, which lays out a procedure
                                                    10                      2:11-CV-07098-ABC-SH
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    1 for disclosure of customer information. 6
    2          Giganews wants to provide its users, who have an expectation of privacy, an
    3 opportunity to intervene and challenge disclosure before their identities are disclosed.
    4 Perfect 10 baselessly declares that any individuals at issue are “massive infringers”
    5 and thus do not deserve privacy protections, but it offers no real grounds on which to
    6 reject this provision. Perfect 10 points out that Giganews informs customers that it
    7 will turn over customer information after entry of a court order. But Perfect 10 fails to
    8 mention that Giganews also tells its customers that that is the only circumstance in
    9 which Giganews will turn over customer information. See Exhibit 4 (Giganews’s
   10 Privacy Policy). Giganews’s Privacy Policy states: “Giganews requires certain
   11 information at the time of signup and in the course of providing member support. This
   12 information is necessary for us to provide quality service and support. This
   13 information is never released to others, unless we are ordered by a court of competent
   14 jurisdiction to do so.” Id. In addition, Giganews tells its customers that, for civil
   15 cases, customers “will be notified so they will have an opportunity to contest the
   16 surrender of personal information.” Id.
   17          Giganews’s proposed protective order will allow Giganews to provide the
   18 customer information Perfect 10 has requested in a timely manner while honoring
   19 Giganews’s own terms of use. The protective order itself will direct Giganews to
   20 provide customer information after two weeks unless the customer challenges this
   21 court’s order.7 This accords with orders from other courts concerning release of
   22 customer information to copyright plaintiffs. See Canal Street Films v. Does 1-2, No.
   23
   24      6
              In addition, Perfect 10 raised for the first time in its joint stipulation a concern
   25   regarding access by three officers for each party to view Confidential Designated
        Material. Perfect 10 provides no explanation for this late objection, other than that it
   26   differs from a protective order in another, dismissed, case. This is not a reasonable
   27   basis. Protective orders in different cases routinely differ.
            7
              The two week period is in line with other service providers. See, e.g.,
   28   http://www.verizon.net/policies/vzcom/civil_subpoena_popup.asp.
                                                      11                       2:11-CV-07098-ABC-SH
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    1 1:13-cv-0999, 2013 WL 1775063, at *4 (M.D. Pa. Apr. 25, 2013) (ordering ISPs to
    2 notify customers and to wait 30 days and until after resolution of any customer motion
    3 to quash before producing customer information); see also Mick Haig Productions v.
    4 Does 1-670, No. 3:10-cv-1900, 2011 WL 5104095, at *2 (N.D. Tex. Sept. 9, 2011)
    5 (court appointed attorneys to represent customers in opposing discovery before
    6 disclosure of identity), affirmed on issue of sanctions against plaintiff’s counsel, 687
    7 F.3d 649 (5th Cir. 2012).
    8         Defendants’ Section 11 presents a reasonable accommodation that allows
    9 Defendants to honor their own terms of service prohibiting user disclosures without a
   10 court order while providing an efficient mechanism for production of the information
   11 Perfect 10 seeks. By contrast, Perfect 10’s proposal will ensure excessive motion
   12 practice by putting Defendants in a position where they must refuse to disclose user
   13 identities until additional motions are filed.
   14         D.    Defendants’ Proposal Is Far Clearer than Plaintiff’s and Will
   15               Minimize Inadvertent Error.
   16         A protective order should provide clear instruction to the parties and other
   17 persons on how to handle material and information stemming from the case. Perfect
   18 10’s proposal is a mish-mash of disorganized provisions that is difficult to read and
   19 likely to cause confusion for both parties and non-parties.
   20         Perfect 10’s proposal has only three headings to cover 26 paragraphs:
   21 “Confidential Designation of Material” beginning with Paragraph 4, “Highly
   22 Confidential Designation of Material” beginning with Paragraph 14, and “Other
   23 Provisions” beginning with Paragraph 19. But these headings do not in fact describe
   24 the paragraphs beneath each heading, and some paragraphs underneath one heading
   25 apply generally throughout the document or belong with provisions under other
   26 headings. The paragraphs do not flow in logical order. For instance, the paragraphs
   27 covering Highly Confidential Designation of Material” do not immediately follow the
   28 paragraphs covering Confidential Designation of Material as might be expected;
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    1 instead several unrelated provisions are sandwiched in between, such as procedures
    2 for objecting to experts in Paragraph 6, with no additional headings to mark the topic
    3 change. Paragraph 11 of Perfect 10’s proposed order also includes outdated
    4 procedures for filing under seal. Paragraphs 10 and 23 both appear to cover the same
    5 topic—the protective order not acting as admission or waiver—but are pages apart in
    6 the document and under two different headings.
    7         Clear headings and logical organization substantially reduce the risk of
    8 misunderstandings or mistakes. Defendant’s proposal has rearranged the sections
    9 from Perfect 10’s proposal into a logical order and added headings for every section
   10 for clarity and ease of use.
   11         While the byzantine structure of Perfect 10’s order likely stemmed from
   12 compromises in the Google litigation, that is no reason to repeat it. Perfect 10 may be
   13 intimately familiar with its details, but neither defendants nor nonparties who read the
   14 document will have such familiarity.
   15         During the pre-motion process, Perfect 10 offered no explanation or argument
   16 for its refusal to agree to a reorganized protective order apart from repeating that it
   17 wanted an order identical to that in the Google case. Before conferring with Perfect
   18 10, Defendants provided Perfect 10 a redline of Defendants’ proposal against the
   19 order this Court entered in Perfect 10 v. Google and asked Perfect 10 to identify
   20 specifically all sections it disagreed with. During the conference Perfect 10 identified
   21 only the issues that Defendants have addressed in the earlier sections of this
   22 stipulation.
   23         The Court should approve Defendants’ proposed protective order as a vast
   24 improvement upon Perfect 10’s proposal.
   25         E.     Defendants’ Conclusion
   26         Mr. Zada does not deserve non-attorney access to attorneys’ eyes only
   27 materials, and Perfect 10’s in-house lawyers and paralegal do not deserve in-house
   28 access to outside attorneys’ eyes only source code materials. Giganews needs
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    1 provisions to allow it to notify customers and allowing them to challenge disclosure
    2 before it discloses user information. Defendants’ proposed protective order is easier
    3 to read, provides more clarity, and has a more logical organization than Perfect 10’s
    4 proposal. For these reasons, the Court should enter Exhibit B as the protective order
    5 in this case.
    6         Moreover, Defendants have concerns about Perfect 10’s candor in describing
    7 personnel as employees or not. Perfect 10 states in this stipulation that its two in-
    8 house attorneys are not employees, yet its in-house paralegal is an employee. All
    9 three persons appear to work at Perfect 10’s office, which is also Norman Zada’s
   10 home.
   11         The exact status of legal personnel as in-house or outside is very important in
   12 understanding the effect of a protective order, and the physical location of these legal
   13 personnel in the home of Perfect 10’s principal raises concerns about the security of
   14 highly confidential information. Defendants ask the Court to make specific inquiries
   15 and to request detailed representations by Perfect 10’s counsel that will clarify all of
   16 these matters.
   17 IV.     CONCLUSION
   18         Counsel for the parties hereby respectfully submit this Joint Stipulation
   19 pursuant to Local Rule 37-1.
   20 DATED: December 11, 2013              PERFECT 10, INC.
   21
   22                                       By
   23                                            Lynell D. Davis
                                                 Attorney for Plaintiff P10, Inc.
   24
        DATED: December 11, 2013            FENWICK & WEST, LLP
   25
                                            By          /S/ (pursuant to email)
   26                                            Ilana Rubel
   27                                            Attorneys for Defendants GIGANEWS,
                                                 INC. and LIVEWIRE SERVICES, INC.
   28
                                                     14                       2:11-CV-07098-ABC-SH
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